97 F.3d 1446
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert BIGGS, Plaintiff--Appellant,v.NURSE CARTWRIGHT;  Mr. Weeks, Defendants--Appellees,andWilliam C. MEADOWS;  Superintendent Barnes, Defendants.
    No. 96-6816.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 10, 1996.Decided:  Sept. 24, 1996.
    
      Robert Biggs, Appellant Pro Se.  James Peeler Smith, Assistant Attorney General, David L. Woodard, NORTH CAROLINA DEPARTMENT OF JUSTICE, Raleigh, North Carolina, for Appellees.
      Before ERVIN and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Biggs v. Cartwright, No. CA-93-17-BR (E.D.N.C. May 10, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    